Case 3:11-cr-03047-MWB-MAR   Document 216   Filed 08/02/12   Page 1 of 6
Case 3:11-cr-03047-MWB-MAR   Document 216   Filed 08/02/12   Page 2 of 6
Case 3:11-cr-03047-MWB-MAR   Document 216   Filed 08/02/12   Page 3 of 6
Case 3:11-cr-03047-MWB-MAR   Document 216   Filed 08/02/12   Page 4 of 6
Case 3:11-cr-03047-MWB-MAR   Document 216   Filed 08/02/12   Page 5 of 6
Case 3:11-cr-03047-MWB-MAR   Document 216   Filed 08/02/12   Page 6 of 6
